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                                                                    FILED: August 3, 2020

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                      ___________________

                                           No. 20-1392
                                    (1:18-cv-00891-LCB-JEP)
                                      ___________________

        GUILFORD COLLEGE; GUILFORD COLLEGE INTERNATIONAL CLUB;
        THE NEW SCHOOL; FOOTHILL- DE ANZA COMMUNITY COLLEGE
        DISTRICT; HAVERFORD COLLEGE; THE AMERICAN FEDERATION OF
        TEACHERS; JIA YE; SEN LI

                     Plaintiffs - Appellees

        v.

        CHAD F. WOLF, Acting Secretary of Homeland Security; UNITED STATES
        DEPARTMENT OF HOMELAND SECURITY; L. FRANCIS CISSNA;
        UNITED STATES CITIZENSHIP AND IMMIGRATION SERVICES

                     Defendants - Appellants

                                      ___________________

                                           ORDER
                                      ___________________

              Upon consideration of the motion to voluntarily dismiss this case pursuant to

        Rule 42(b) of the Federal Rules of Appellate Procedure, and there appearing no

        opposition, the court grants the motion.

                                               For the Court--By Direction

                                               /s/ Patricia S. Connor, Clerk




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